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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                   X
CURTIS SUMMIT,
                                                       Civ. No.: 20-cv-04905-PAE
                                Plaintiff,

                 -against-                             NOTICE OF MOTION TO
                                                       WITHDRAW AS COUNSEL BY
EQUINOX HOLDINGS, INC.,
                                                       KENNETH D. SOMMER, ESQ.
                                Defendant.

                                                   X

             PLEASE TAKE NOTICE that upon the Declaration of Kenneth D. Sommer,

attorney of record for Defendant EQUINOX HOLDINGS, INC., will move this Court before the

Honorable Judge, Paul A. Engelmayer, at the United States Courthouse, Southern District of

New York, 500 Pearl Street, New York, New York 10007, for an Order granting Kenneth

Sommer’s Motion to Withdraw as counsel for Defendant.


Dated: New York, New York
       December 1, 2021
                                                   Respectfully submitted,


                                                   JACKSON LEWIS P.C.
                                                   666 Third Avenue
                                                   New York, New York 10017
                                                   (212)545-4000

                                             By:   s/Kenneth D. Sommer
                                                   Kenneth D. Sommer

                                                   ATTORNEYS FOR DEFENDANT
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                              CERTIFICATE OF SERVICE

               I hereby certify that on this 1st day of December, 2021, the foregoing document
was filed with the Clerk of the Court and served in accordance with the Federal Rules of Civil
Procedure, and/or the Southern District’s Local Rules, and/or the Southern District’s Rules on
Electronic Service upon all parties and participants in the case.



                                                                 s/Kenneth D. Sommer
                                                                 Kenneth D. Sommer




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